Case 1:17-cv-00359-WES-PAS Document 1 Filed 08/07/17 Page 1 of 51 PageID #: 1



                           UNITED STATES DISTRICT COURT
                             DISTRICT OF RHODE ISLAND

MEGAN SCHULTZ, individually and on             CASE NO.
behalf of all others similarly situated,
                                               JURY TRIAL DEMANDED
                                  Plaintiff,

         v.

CVS HEALTH CORPORATION,

                                Defendant.


                               CLASS ACTION COMPLAINT




010698-11 975397 V1
Case 1:17-cv-00359-WES-PAS Document 1 Filed 08/07/17 Page 2 of 51 PageID #: 2



                                                   TABLE OF CONTENTS
                                                                                                                                           Page

I.       INTRODUCTION ...............................................................................................................1

II.      JURISDICTION AND VENUE ..........................................................................................6

III.     PARTIES .............................................................................................................................6

         A.         Plaintiff ....................................................................................................................6

         B.         Defendant.................................................................................................................8

II.      FACTUAL ALLEGATIONS ..............................................................................................8

         A.         CVS makes money and gets more business by agreeing with PBMs to
                    defraud its customers. ..............................................................................................8

         B.         CVS falsely represented that it would offer customers the lowest prices..............14

         C.         CVS is a fiduciary under ERISA. ..........................................................................17

IV.      TOLLING OF THE STATUTE OF LIMITATIONS........................................................21

         A.         The Statute of Limitations is tolled because Class members could not have
                    reasonably discovered the secret scheme...............................................................21

         B.         The Statute of Limitations is tolled because CVS fraudulently concealed
                    the scheme..............................................................................................................22

         C.         CVS, by its failure to disclose the scheme, is estopped from relying on any
                    Statute of Limitations.............................................................................................22

V.       CLASS ALLEGATIONS ..................................................................................................22

         A.         Claims Brought on Behalf of the RICO Class .......................................................25

COUNT I VIOLATIONS OF THE RACKETEER INFLUENCED AND CORRUPT
    ORGANIZATIONS ACT (18 U.S.C. § 1962(C)) .............................................................25

                    1.         CVS played a crucial role in the Overpayment Enterprise and
                               Individual Overpayment Enterprises. ........................................................26

                    2.         CVS actively conducted and directed affairs of the Overpayment
                               Enterprise and Individual Overpayment Enterprises. ................................28

                    3.         CVS engaged in racketeering activity by committing mail and wire
                               fraud. ..........................................................................................................29

                                                                     -i-
010698-11 975397 V1
Case 1:17-cv-00359-WES-PAS Document 1 Filed 08/07/17 Page 3 of 51 PageID #: 3



                    4.         CVS engaged in a pattern of racketeering by continually
                               defrauding customers. ................................................................................32

                    5.         CVS proximately caused the RICO Class’s damages................................33

COUNT II VIOLATIONS OF THE RACKETEER INFLUENCED AND CORRUPT
    ORGANIZATIONS ACT (18 U.S.C. § 1962(D)).............................................................34

          B.        Claims Brought on Behalf of the ERISA Subclass................................................35

COUNT I ENFORCEMENT OF RIGHTS UNDER HEALTH CARE PLAN (29 U.S.C.
    1132(A)(1)(B))...................................................................................................................35

COUNT II FIDUCIARY CONFLICTS OF INTEREST (29 U.S.C. § 1132(A)(3))....................36

COUNT III LACK OF ADEQUATE CARE (29 U.S.C. § 1104(A)(1))......................................37

          C.        Claims Brought on Behalf of the California Subclass ...........................................38

COUNT I VIOLATIONS OF THE CALIFORNIA UNFAIR COMPETITION LAW
    (CAL. BUS. & PROF. CODE § 17200 ET SEQ.) .............................................................38

COUNT II VIOLATIONS OF THE CALIFORNIA CONSUMER LEGAL REMEDIES
    ACT (CAL. CIV. CODE § 1750 ET SEQ.) .......................................................................40

COUNT III FRAUDULENT CONCEALMENT (BASED ON CALIFORNIA LAW) ..............43




                                                                - ii -
010698-11 975397 V1
Case 1:17-cv-00359-WES-PAS Document 1 Filed 08/07/17 Page 4 of 51 PageID #: 4



         Plaintiff Megan Schultz, individually and on behalf of all others similarly situated,

alleges as follows:

                                     I.      INTRODUCTION

         1.       Pharmacists are on the front lines of America’s health care system. Customers

rely on their advice and guidance in buying their prescription medications. And when customers

use health insurance to make these purchases from their pharmacists, they naturally believe that

they are paying the lowest out-of-pocket payments for which they are eligible under the terms of

their health care plans.

         2.       Defendant CVS Health Corporation (CVS) leverages its position on the front lines

to earn substantial profits from selling prescription drugs—about $10.3 billion annually1—yet it

assures its customers that it is committed to offering affordable medicine. CVS recently

announced that “[w]e’re committed to bringing accessible and affordable care to as many people

as we can. It’s the right thing to do – and for the largest pharmacy health care provider in the

U.S., it’s also a strategy for long-term growth.” Id. at 18. CVS also recognized that “[w]hen it

comes to health care, there’s a clear connection between convenience, access and outcomes. For

patients with busy lives, tight budgets or mobility challenges, any roadblock to obtaining an

important screening or treatment can lead to a cascade of undesired effects.” Id. at 22.

         3.       But CVS’s customers are not getting “affordable care” because CVS has

participated in a fraudulent scheme to overcharge for certain generic pharmaceuticals (the

“Affected Drugs”)2 in two main respects. First, CVS deliberately charges customers who use

their insurance more for the Affected Drugs as compared to customers who pay cash or simply


    1
      CVS Corporate Social Responsibility Report (2016) at 5-6, available at
https://www.cvshealth.com/sites/default/files/2016-csr-report.pdf.
    2
      “Affected Drugs” is further defined infra at n.23.


                                                 -1-
010698-11 975397 V1
Case 1:17-cv-00359-WES-PAS Document 1 Filed 08/07/17 Page 5 of 51 PageID #: 5



don’t use their insurance. Randal Johnson, the President of the Louisiana Independent

Pharmacies Associated, explained that “it’s actually costing you more to acquire the drug with

your insurance than you could if you walked in off the street and you didn’t have insurance[.]”3

         4.       Plaintiff Megan Schultz is one of those customers. On July 6, 2017, she used her

insurance to purchase a certain generic drug4 at her local CVS, and under her plan she was

required to pay $165.68. But if she simply paid in cash, without using her insurance, she would

have paid only $92. CVS never told her that paying in cash would allow her to pay 45% less for

the drug; instead, CVS remained silent and took her money—knowing full well that no

reasonable consumer would make such a choice.

         5.       CVS’s silence results from its participation in a fraudulent scheme with several

large Pharmacy Benefit Managers (PBMs) who act as an intermediary between insurance

companies and pharmacies. PBMs use their marketing leverage with pharmacies to negotiate

prices that the insurance companies have to pay the pharmacies. Pharmacies, in turn, get the

benefit of having enrollees in the insurance plan coming to their stores to get their prescriptions

filled if the pharmacy is in the PBM’s network. As a result, CVS is eager to reach agreements

with PBMs that will drive more people to the stores, where customers often purchase more than

their generic drugs.5 These agreements with PBMs are based on secret, undisclosed contracts,

under which CVS agrees to specific amounts it will charge and collect from insured customers—

    3
      Lee Zurik, Copay or you-pay? Prescription drug clawbacks draw fire, Fox 8 (May 4,
2016), http://www.fox8live.com/story/31891070/zurik-copay-or-you-pay-prescription-drug-
clawbacks-draw-fire.
    4
      To protect Plaintiff’s privacy, the names of the specific drugs she purchased are not
identified in the Complaint. If necessary to resolve a motion to dismiss, counsel will provide this
information under seal pursuant to a Protective Order.
    5
      See Samantha Timmermann, Pharmacy Marketing & Sales: How to Increase Profits by
Thousands of Dollars a Year, Pharmacy Development Services (Aug. 15, 2011),
https://www.pharmacyowners.com/blog/bid/60345/pharmacy-marketing-sales-how-to-increase-
profits-by-thousands-of-dollars-a-year.


                                                 -2-
010698-11 975397 V1
Case 1:17-cv-00359-WES-PAS Document 1 Filed 08/07/17 Page 6 of 51 PageID #: 6



but the customers can neither see nor learn about these agreements or their terms from the

pharmacies, the insurance companies, or anyone else. The linchpin of the scheme is that the

consumer pays the amount negotiated between the PBM and CVS even if that amount exceeds

the price of the drug without insurance.

         6.       The second prong of CVS’s scheme involves overcharging customers by

collecting “co-pays” that, unbeknownst to the customers, exceed the pharmacists’ price and

profit. CVS then remits the excess payments back to the PBMs. In the industry, these payments

are often called “clawback” or spread payments. The spread is calculated based on what the

customer paid, less the amount due to the pharmacists. Although the customers are told, for

example, that they are required to pay $15 in a “co-pay” for the drug, in reality this is not a “co-

pay” at all because CVS is sending a significant portion of the $15 back to the PBMs. The

PBMs, far from assisting with the payments, are taking an extra chunk out of the customer’s

copayment.




                                                -3-
010698-11 975397 V1
Case 1:17-cv-00359-WES-PAS Document 1 Filed 08/07/17 Page 7 of 51 PageID #: 7



         7.       The following illustration depicts how funds are clawed back to the PBMs: 6




         8.       Another example is the payment by Plaintiff Megan Schultz. She paid $101.49 for

a certain drug at CVS when the cash price was $49.45. Ms. Schultz, as would any reasonable

consumer, assumed that her insurance company would be paying approximately $400 if $101.49

was a standard 20% co-pay. Not so. Her insurance company paid less than her entire payment as

a result of the secret agreements between the PBMs and CVS. One PBM, OptumRx, calls this

practice a part of “OptumRx’s Pharmacy Reimbursement Overpayment” program.

         9.       The National Community Pharmacists Association (NCPA) surveyed hundreds of

its member pharmacists and found that clawbacks are a common practice.7 According to the


    6
      See Jared S. Hopkins, You’re Overpaying for Drugs and Your Pharmacist Can’t Tell You,
Bloomberg (Feb. 24, 2017), https://www.bloomberg.com/news/articles/2017-02-24/sworn-to-
secrecy-drugstores-stay-silent-as-customers-overpay.
    7
      See, e.g., Pharmacists Survey: Prescription Drug Costs Skewed by Hidden Fees on
Pharmacies, Patients, PR Newswire (June 28, 2016), http://www.prnewswire.com/news-
releases/pharmacists-survey-prescription-drug-costs-skewed-by-hidden-fees-on-pharmacies-
patients-300291396.html.


                                                 -4-
010698-11 975397 V1
Case 1:17-cv-00359-WES-PAS Document 1 Filed 08/07/17 Page 8 of 51 PageID #: 8



CEO of the NCPA, B. Douglas Hoey, “[p]atients purchase insurance with the presumption that

they will save money using the plan’s designated health care providers . . . . Copay clawbacks

turn that logic on its head. A copay becomes a full pay—and then some.” Id.

         10.      When confronted with evidence regarding this fraudulent scheme, pharmacies

typically paint themselves as the victim, claiming that they were forced to engage in what is

admittedly deceitful conduct because they signed contracts with PBMs—as if a contract gives

them license to defraud. A local television station in New Orleans ran a series of stories about

this practice, with pharmacists interviewed in the dark with voice distorters as they detailed the

scheme.8 The NCPA CEO said that “[f]rom an ethical standpoint, it sure feels unethical[.] And as

a pharmacist wanting the patient to be healthy and get the best value for their medication,

everything about it feels wrong.” Id.

         11.      But individual pharmacists’ misgivings about the scheme only serve to highlight

its wrongfulness, because CVS, motivated by profit, deliberately entered into these contracts,

dedicating itself to the secret scheme that kept customers in the dark about the true price of the

Affected Drugs. It has even recognized in a recently filed annual report to the Securities and

Exchange Commission that regulation of these secret agreements could harm its bottom line.9

         12.      But the law requires more of CVS than the simple pursuit of profits at the expense

of their customers. Under the Employee Retirement Income Security Act of 174 (ERISA),

entities like CVS that control assets of health plan enrollees have a fiduciary duty to those

individuals. As a fiduciary, CVS has an obligation to provide its services “solely in the interest of

    8
     See Lee Zurik, Pharmacists, customers nationwide copying with clawbacks, Fox 8 (May 16,
2016), http://www.fox8live.com/story/31985650/zurik-pharmacists-customers-nationwide-
coping-with-clawbacks.
   9
     See CVS’s 2016 10-K Annual Report at 15, available at http://otp.investis.com/clients/us/
cvs_caremark1/SEC/sec-show.aspx?Type=html&FilingId=11837374&CIK=0000064803&Index
=10000.


                                                 -5-
010698-11 975397 V1
Case 1:17-cv-00359-WES-PAS Document 1 Filed 08/07/17 Page 9 of 51 PageID #: 9



the participants and beneficiaries,” and an obligation to “defray[] reasonable expenses of

administering the plan.” 29 U.S.C. § 1104(a). CVS’s involvement in the clawback scheme is a

direct violation of these responsibilities and CVS is enabling co-fiduciaries to violate their own

duties and responsibilities as well.

         13.      Plaintiff Megan Schultz and the proposed Class and Subclasses (“Class”) are

insureds who overpaid for the Affected Drugs and who seek relief for CVS’s violations of the

Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C. § 1961 et seq. (RICO); ERISA,

29 U.S.C. § 1001 et seq.; state consumer protection laws; and common law fraud.

                               II.     JURISDICTION AND VENUE

         14.      This Court has jurisdiction pursuant to 28 U.S.C. § 1332(d) because the Class

consists of more than 100 members, the amount in controversy exceeds the sum or value of five

million dollars ($5,000,000) exclusive of recoverable interest and costs, and minimal diversity

exists. This Court also has subject matter jurisdiction pursuant to 18 U.S.C. § 1964 and

supplemental jurisdiction over the state law claims pursuant to 28 U.S.C. § 1367.

         15.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because CVS has

its principal place of business within this District.

                                           III.   PARTIES

A.       Plaintiff

         16.      Plaintiff Megan Schultz is a resident of Kentfield, California, and was a

participant in a health care plan with medical and pharmacy coverage administered by Anthem

Blue Cross. Plaintiff routinely purchased certain generic pharmaceuticals at her local CVS using

her insurance plan, but she would have paid less if CVS charged her the cash price. Below is a




                                                  -6-
010698-11 975397 V1
Case 1:17-cv-00359-WES-PAS Document 1 Filed 08/07/17 Page 10 of 51 PageID #: 10



 chart summarizing Plaintiff’s purchases of certain Affected Drugs as well as the stated cash price

 based on a leading website that reports this information—GoodRx:10

             Drug       Date of     Prescription           Cash Price          Overpayment
                       Purchase         Price
           Drug 1      07/06/16        $98.65          $43 (as of 7/8/16)11        $55.65
                       08/07/16        $58.43                 $5212                 $6.43
           Drug 2      01/28/17        $15.60         $15 (as of 1/29/17)13          $.60
                       03/01/17        $15.60          $15 (as of 3/4/17)14          $.60
                       04/08/17        $15.60         $15 (as of 3/30/17)15          $.60
                       05/08/17        $15.60         $15 (as of 3/30/17)16          $.60
                       06/08/17        $16.15         $15 (as of 7/12/17)17         $1.15
                       07/08/17        $16.75         $15 (as of 7/12/17)18         $1.75
           Drug 3      07/06/17       $101.49         $54 (as of 7/26/17)19        $47.49
           Drug 4      06/27/17       $165.68                 $9220                $73.68

          17.      At no point did CVS ever advise Plaintiff that the cash price was less than her

 insurance price. Nor did CVS ever advise her that CVS had agreed to pay back to the PBM a

 spread based on what she paid, less the price to the pharmacy. Nor did CVS ever tell her that it

 agreed to remain silent about these fraudulent practices or that it was unable to advise her as a


     10
        GoodRx is an online website for generic drugs that Consumer Reports describes as the
 “best at finding the lowest prices in stores and online.” See http://www.consumerreports.org/
 cro/2012/05/can-a-phone-app-help-you-find-cheaper-drugs/index.htm. According to its website,
 “GoodRx’s cash prices are based on multiple sources, including published price lists, purchases,
 claims records, and data provided by pharmacies.” See https://www.goodrx.com/levothyroxine
 ?form=tablet&dosage=50mcg&quantity=30&label_override=. Historical information regarding
 cash prices is captured by the Internet Archive (web.archive.org), which archives websites at
 different periods of time so that viewers can see the website as it existed on a given date.
     11
        See https://web.archive.org/web/20160727174052/http://www.goodrx.com:80/[redacted].
     12
        See http://web.archive.org/web/20160730183201/http://www.goodrx.com:80/[redacted].
     13
        See http://web.archive.org/web/20160919215728/http://www.goodrx.com:80/[redacted].
     14
        See http://web.archive.org/web/20160919215728/http://www.goodrx.com:80/[redacted].
     15
        See https://web.archive.org/web/20160920181353/http://www.goodrx.com:80/[redacted].
     16
        See https://web.archive.org/web/20160920181353/http://www.goodrx.com:80/[redacted].
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     18
        See https://web.archive.org/web/20160920181353/http://www.goodrx.com:80/[redacted].
     19
        See https://www.goodrx.com/[redacted]?drug-name=[redacted].
     20
        See hhttp://web.archive.org/web/20160508095001/http://www.goodrx.com:80/[redacted].


                                                   -7-
 010698-11 975397 V1
Case 1:17-cv-00359-WES-PAS Document 1 Filed 08/07/17 Page 11 of 51 PageID #: 11



 fiduciary to ensure that she was receiving the best possible health care. Plaintiff reasonably relied

 on CVS’s representations regarding the price, believing that CVS would be forthright and honest

 about what the true price was. Had Plaintiff known that she could have paid the cash price and

 saved money, she would have done so.

 B.        Defendant

           18.     Defendant CVS Health Corporation, d/b/a CVS/Caremark, CVS/Pharmacy,

 CVS/Minute Clinic, and CVS/Specialty (“CVS”) is a Delaware corporation with its principal

 place of business at One CVS Drive, Woonsocket, Rhode Island 02895. CVS does business

 throughout the United States. It has more than 9,600 retail locations, serving approximately 100

 million customers and earning $177.5 billion in revenue annually.21

                                 II.    FACTUAL ALLEGATIONS
           A.      CVS makes money and gets more business by agreeing with PBMs to
                   defraud its customers.

           19.     About 90% of Americans are enrolled in health insurance plans that cover at least

 a portion of their medical costs.22 A crucial component of these plans is the shared cost of

 prescription drugs. Indeed, most Americans purchase insurance plans specifically to save money

 on their medications.

           20.     Cost-sharing generally takes one of three forms: deductible payments,

 coinsurance, or copayments. Deductibles set a dollar threshold that a customer must exceed

 before the insurer will pay for at least a portion of the medications. Coinsurance requires the




      21
        CVS Corporate Social Responsibility Report (2016) at 6, available at
 https://www.cvshealth.com/sites/default/files/2016-csr-report.pdf.
     22
        See Chris Isidore, Nearly 90 Percent of Americans Have Health Insurance, CNN (Apr. 13,
 2015), http://money.cnn.com/2015/04/13/news/economy/obamacare-uninsured-gallup/
 index.html.


                                                  -8-
 010698-11 975397 V1
Case 1:17-cv-00359-WES-PAS Document 1 Filed 08/07/17 Page 12 of 51 PageID #: 12



 insured to pay a given percentage of drug costs, often after exceeding the deductible threshold.

 Copayments are fixed dollar payments by the insured to pay for their medications.

          21.      Insurers hire PBMs to administer the prescription drug components of their health

 insurance plans. PBMs process prescriptions for insurers and negotiate with drug manufacturers

 and pharmacies to set prices for prescription drugs for insureds. Pursuant to these contracts,

 PBMs act as insurers’ agents.

          22.      The three largest PBMs in the United States are Express Scripts, CVS Caremark

 (owned by CVS), and OptumRx, Inc. (collectively, the “Main PBMs”). Together, the Main

 PBMs manage the drug benefits for about 75% of the market, or approximately 180 million

 patients. Each of these PBMs has a contract with CVS and CVS is part of each PBM’s network.

 CVS has also contracted with MedImpact, another PBM, and is on MedImpact’s network as

 well. Upon information and belief, CVS has entered into contracts with each of these PBMs to

 engage in the fraudulent scheme alleged herein. Upon information and belief, and during all

 relevant times herein, each of the PBMs was aware that it was part of a larger structure serving

 the common purpose of defrauding customers and increasing profits by secretly contracting with

 CVS to receive clawback payments. All of the PBMs contributed to this scheme by at least

 impliedly agreeing that they would not disclose the other PBMs’ clawback agreements so that

 they could continue to benefit from their own clawback agreement with CVS.

          23.      The price customers pay for their medications is governed by a series of contracts

 up and down the chain. The insured has an agreement with an insurance company. The insurance

 company has an agreement with a PBM to help administer the prescription drug coverage that

 the insured purchased through her plan. PBMs enter into agreements with pharmacies to sell the

 medications and, critical to this Complaint, collect payment from the customers. Finally, the




                                                  -9-
 010698-11 975397 V1
Case 1:17-cv-00359-WES-PAS Document 1 Filed 08/07/17 Page 13 of 51 PageID #: 13



 pharmacies have contracts with the drug manufacturers (or wholesalers) to supply the

 medications. Pharmacies are at the epicenter of this network, as the following diagram illustrates:




          24.      On information and belief, CVS has secret, undisclosed written contracts with the

 Main PBMs and other PBMs as well. Under these contracts, PBMs set the specific amounts CVS

 will charge and collect from insureds for particular drugs, as well as the amounts it will

 contribute toward the cost of prescription drugs.23 On information and belief, all of these

 contracts contain confidentiality provisions.


     23
       The “Affected Drugs” include Accu-Chek, Acyclovir, Aktob, Albuterol, Alocril,
 Alprazolam, Amiodarone, Amitriptyline, Amlodipine, Amoxicillin, Amphetamine, Anastrozole,
 Atenolol, Atorvastatin, Azelastine, Azithromycin, Bactrim, Benazepril, Benzonatate,
 Betamethasone, Buspirone, Bystolic, Carvedilol, Cefadroxil, Cefdinir, Cephalexin, Cetirizine,
 Ciprofloxacn, Citalopram, Clindamycin and Benzoyl Peroxide, Clindamycin, Clonazepam,
 Clonidine, Clopidogrel, Cyanocobalam, Cyclobenzaprine, Cytomel, Denta, Depo-Testosterone,
 Diazepam, Dicyclomine, Diltiazem, Doxazosin, Doxycycl, Duloxetine, Enalapril, Escitalopram,
 Estradiol, Eszopiclone, Feosol, Ferrous, Flonase, Fluconazole, Fluocinonide, Fluoxetine,
 Fluticasone, Folbee, Folic, Furosemide, Gabapentin, Gemfibrozil, Gentamicin, Gianvi,
 Glimepiride, Glipizide, Guaifenesin, Hydrochlorot, Hydrocodone/APAP, Hydroxyz, Ibuprofen,
 Indomethacin, Invokamet, Irbesartan, Isosorbide, Januvia, Lamotrigine, Lantus, Latanoprost,
 Levetiraceta, Levocetirizi, Levofloxacin, Levothyroxine, Lexapro, Lisinopril And


                                                 - 10 -
 010698-11 975397 V1
Case 1:17-cv-00359-WES-PAS Document 1 Filed 08/07/17 Page 14 of 51 PageID #: 14



          25.      Because of the restrictive and confidential nature of the contracts between

 insurers and PBMs and between PBMs and CVS, CVS’s insured customers do not know—and

 cannot readily discover—that, in many cases, they are paying far more for their prescription

 drugs by using their insurance benefits than if they simply chose to pay the “cash price” CVS

 charges uninsured customers, either by paying “copayments” or “coinsurance,” or payments

 applied toward a deductible.

          26.      Under the PBM/CVS agreements, the parties agree that CVS will collect

 payments from customers, which routinely exceed the amount due to CVS, and then remit back

 the difference (or the spread) to the PBMs. In many of these agreements, CVS pledges to not

 inform clients that they could pay less if they did not use their insurance plans. In deductible and

 coinsurance plans, pharmacies agree to collect a percentage of a specified dollar amount (like

 $10, for example), rather than a percentage of the cost to the pharmacy.

          27.      For example, one of the PBMs used by CVS is OptumRx.24 Although counsel

 does not yet have the contract between OptumRx and CVS, OptumRx publishes a Provider

 Manual that details what pharmacies have agreed to do in order to benefit from being an

 Hydrochlorothiazide, Lisinopril, Lisinopril/hydrochlorothiazide, Lithium, Loratadine,
 Lorazepam, Losartan, Losartan and Hydrochlorothiazide, Lovastatin, Meloxicam, Memantine,
 Metformin, Methocarbam, Methylphenidate, Metolazone, Metoprolol, Metronidazol, Minivelle,
 Mirtazapine, Mometasone, Montelukast, Mupirocin, Naproxen, Nitrofurantoin, Nortriptylin,
 Nystatin, Omeprazole, Ondansetron, Oxcarbazepin, Oxybutynin, Oxycodone/APAP,
 Pantoprazole, Paroxetine, Penicillin, Percocet, Pramipexole, Pravastatin, Prednisone,
 Prednisolone, Promethazine/Codeine, Ramipril, Ranitidine, Restasis, Sertraline, Simvastatin,
 Singulair, SMZ/TMP, Sodium Chloride (1 gm), Spironolactone, Sprintec, Sulfameth/Trimeth,
 Sumatriptan, Suprep, Synthroid, Tamiflu, Tamsulosin, Temazepam, Terazosin, Terbinafine,
 Tizanidine, Tobramycin/Sus Dexameth, Topiramate, Tramadol, Tranex, Trazodone, Tretinoin,
 Triamcinolone, Triamterene and Hydrochlorothiazide, Vagifem, Valacyclovir,
 Valsartan/hydrochlorothiazide, Valsartan, Vaniqa, Venlafaxine, Ventolin, Viagra, Vigamox,
 Vitamin D, Vyvanse, Warfarin, Xopenex, Zaleplon, and Zolpidem.
     24
        See OptumRx and CVS Pharmacy partner to expand consumer choice, reduce costs and
 improve Health Outcomes, CVS Health (Nov. 29, 2016), https://cvshealth.com/newsroom/press-
 releases/optumrx-and-cvs-pharmacy-partner-expand-consumer-choice-reduce-costs-and.


                                                  - 11 -
 010698-11 975397 V1
Case 1:17-cv-00359-WES-PAS Document 1 Filed 08/07/17 Page 15 of 51 PageID #: 15



 OptumRx distributor. The Provider Manual states that pharmacies “shall collect the full Cost-

 Sharing Amounts”—e.g., copayments and deductibles—from customers, and pharmacies “must

 charge . . . the Cost-Sharing Amount indicated in [OptumRx’s] online response and only this

 amount.”25 The pharmacies risk expulsion from OptumRx’s network if they disclose

 reimbursement pricing information or payments to the pharmacies, or if they collect any payment

 from a patient that differs from the amount specified by OptumRx.26

          28.      CVS participates in this scheme for two main reasons. First, CVS wants more

 pharmacy customers, both for its own sake and because pharmacy customers buy additional

 products at CVS. Helena Foulkes, the CVS/Pharmacy President, recently stated that “the

 important challenge for us is to drive profitable growth and continue to attract new pharmacy

 patients.”27 And key to attracting new pharmacy patients are the PBMs. As CVS’s 2016 Annual

 Report stated, “[t]he success of our retail drugstore and long-term care businesses is dependent

 upon our ability to establish and maintain contractual relationships with pharmacy benefit

 managers and other payors on acceptable terms.”28 The generic drug business is particularly

 profitable for pharmacies; by one estimate, they earn a 43% profit margin on generic drugs

 (compared to 4% for brand name drugs).29




     25
        OptumRx 2017 Provider Manual at 15, 58, available at https://learn.optumrx.com/content/
 dam/orx-rxmicros/pharmacy-manual/2017_pharmacy_manual.pdf.
     26
        Id. at 105-106.
     27
        See 7 ways CVS is driving growth in its stores, Chain Store Age (Dec. 16, 2015),
 http://www.chainstoreage.com/article/-ways-cvs-driving-growth-its-stores.
     28
        See CVS’s 2016 10-K Annual Report at 9, available at http://otp.investis.com/clients/us/
 cvs_caremark1/SEC/sec-show.aspx?Type=html&FilingId=11837374&CIK=0000064803&Index
 =10000.
     29
        See Neeraj Sood, Follow the Money: the flow of funds in the pharmaceutical distribution
 system, USC Schaeffer Center for Health Policy & Economics, https://www.brookings.edu/wp-
 content/uploads/2017/05/paper-1-sood-brand-rx-transparency.pdf, at 12.


                                                - 12 -
 010698-11 975397 V1
Case 1:17-cv-00359-WES-PAS Document 1 Filed 08/07/17 Page 16 of 51 PageID #: 16



          29.      Second, CVS participates in this scheme because it earns more when it charges

 customers the insurance price. NCPA conducted a study regarding clawbacks and, although it

 was undoubtedly intending to burnish its own image, it inadvertently proved that pharmacies

 make more money when customers use insurance. The following are pharmacists’ statements in

 the survey:

                  “Got one [clawback] today. [PBM] charging a patient $125 for a generic drug

 and take back $65 from the pharmacy. If paid cash the cost to the patient would have been $55.”

 In other words, the pharmacy would have made $60 from the clawback ($125 - $65 = $60) as

 compared to $55 for cash payment.

                  “A patient copay is over $50 and the claw back is over $30 all for a drug where

 our cash price would only be $15.” Again, the pharmacy earns only $15 when the customer pays

 the cash price, but $20 if the customer uses insurance.

          30.      CVS has acknowledged that changes to a PBM’s ability to obtain a spread in the

 purchase of pharmaceutical products could hurt CVS’s business. As it stated in its 2016 Annual

 Report, “[m]arket dynamics and regulatory changes have impacted our ability to offer plan

 sponsors pricing that includes the use of retail ‘differential’ or ‘spread,’ which could negatively

 impact our future profitability. Further, changes in existing federal or state laws or regulations or

 the adoption of new laws or regulations relating to patent term extensions, purchase discount and

 rebate arrangements with pharmaceutical manufacturers, or to formulary management or other

 PBM services could also reduce the discounts or rebates we receive.”30




     30
      See CVS’s 2016 10-K Annual Report at 15, available at http://otp.investis.com/clients/us/
 cvs_caremark1/SEC/sec-show.aspx?Type=html&FilingId=11837374&CIK=0000064803&Index
 =10000.


                                                 - 13 -
 010698-11 975397 V1
Case 1:17-cv-00359-WES-PAS Document 1 Filed 08/07/17 Page 17 of 51 PageID #: 17



          31.      But because of the secret contracts and their confidentiality provisions, retail

 pharmacies conceal the profits and “clawbacks” from insureds and do not tell customers that they

 would benefit from paying a lower cash price for medication rather than using their prescription

 drug coverage.31 As a result, Plaintiff and Class members are systematically deceived into

 believing that they are paying the lowest dollar amount for the product when in fact they are

 being overcharged.

          32.      On information and belief, Anthem and its PBM, Express Scripts, Inc., have a

 written contract that contains the terms under which Express Scripts administers the prescription

 drug benefit component of Anthem’s health insurance plans. Pursuant to this contract, Express

 Scripts acts as Anthem’s agent because it is acting on Anthem’s behalf in negotiating drug prices

 pursuant to Anthem’s conditions and stipulations. On information and belief, CVS has a secret,

 undisclosed written contract with Anthem’s agent, Express Scripts, and, ostensibly pursuant to

 the terms of this contract, CVS concealed from Ms. Schultz the lower out-of-pocket amounts

 available to her for the same quantities of her prescribed medications that would be charged if

 she did not use her Anthem prescription drug coverage for the transactions. On further

 information and belief, CVS has secret, undisclosed written contracts with all other major PBMs,

 which it uses to justify concealing lower available out-of-pocket amounts to hundreds of

 thousands, if not millions, of other customers.

          B.       CVS falsely represented that it would offer customers the lowest prices.

          33.      Customers like Plaintiff Schultz have particular confidence in CVS to charge

 customers the lowest price and to disclose the fact that cash payments are cheaper, because CVS

     31
        Id.; see also Medical Waste: Lee Zurik Investigates the Rising Costs of Prescription Meds
 and Questionable Practices by The Pharmaceutical and Insurance Industries, Fox 8
 http://www.fox8live.com/category/314285/medical-waste-a-lee-zurik-investigation (last
 accessed Mar. 7, 2017).


                                                   - 14 -
 010698-11 975397 V1
Case 1:17-cv-00359-WES-PAS Document 1 Filed 08/07/17 Page 18 of 51 PageID #: 18



 promotes itself as being committed to its customers’ health and well-being, including by selling

 drugs at affordable prices.

          34.      CVS recognizes that an increase in pharmaceutical costs harms patients. Its

 Corporate Social Responsibility [CSR] Report acknowledges that 21% of Americans “put off

 filling a prescription due to affordability concerns in 2016.”32 It also conceded that, “[w]hen it

 comes to health care, there’s a clear connection between convenience, access and outcomes. For

 patients with busy lives, tight budgets or mobility challenges, any roadblock to obtaining an

 important screening or treatment can lead to a cascade of undesired effects.”33

          35.      If high drug costs are the problem, CVS promotes itself as the solution. On its

 “Social Responsibility” webpage, CVS proclaims that “[o]ur approach to social responsibility

 ties directly to our purpose: Helping people on their path to better health.”34 Under a “Corporate

 Social Responsibility heading, CVS states: “Our CSR strategy, Prescription for a Better World

 focuses on making quality health care more affordable, more accessible and more sustainable.”

 Id. The CVS Corporate Social Responsibility Report also promises that “[a]t the heart of our

 purpose is our commitment to supporting the communities we serve. Whether we’re helping

 underserved patients or communities, making prescription drugs more affordable, or educating

 patients about the health care system, our commitment to accessible and affordable care goes

 well beyond the walls of our stores.”35




     32
        CVS Corporate Social Responsibility Report (2016) at 19, available at
 https://www.cvshealth.com/sites/default/files/2016-csr-report.pdf.
     33
        Id. at 22.
     34
        See Social Responsibility, CVS Health, https://www.cvshealth.com/social-responsibility
 (last accessed Aug. 7, 2017).
     35
        CVS Corporate Social Responsibility Report (2016) at 23, available at
 https://www.cvshealth.com/sites/default/files/2016-csr-report.pdf.


                                                  - 15 -
 010698-11 975397 V1
Case 1:17-cv-00359-WES-PAS Document 1 Filed 08/07/17 Page 19 of 51 PageID #: 19



          36.       CVS’s Corporate Social Responsibility Report states at the beginning that “CVS

 Health is a pharmacy innovation company with a clear purpose – helping people on their path to

 better health. We aim to accomplish this by addressing critical health care issues and maintaining

 our focus on delivering affordable, accessible and effective health care.” Id. at 2. The report also

 makes the following representations about its “values”:

                   “Our work in Health in Action has made health care more affordable and

                    accessible.” Id. at 3.

                   “We are committed to making health care more affordable and accessible, using

                    resources efficiently, and operating our business with integrity.” Id. at 12.

                   “We reach more than 100 million people each year, and continue to innovate to

                    make health care products and services increasingly accessible and affordable for

                    more people.” Id. at 13.

                   “[We] can help [our customers] navigate their health challenges in a variety of

                    ways. These include helping to ensure that care is more accessible and more

                    affordable for more people.” Id. at 16.

                   “We’re committed to bringing accessible and affordable care to as many people as

                    we can. It’s the right thing to do – and for the largest pharmacy health care

                    provider in the U.S., it’s also a strategy for long-term growth.” Id. at 18.

                      “CVS Health uses its size, scale and expertise to introduce cost management

                    strategies that enable us to negotiate better prices and bring down costs for our

                    patients, clients and plan members.” Id. at 27.

                   “Today’s patients confront a dauntingly complex health care system in which the

                    wrong decision can have a lasting impact on their health or health care spending.




                                                    - 16 -
 010698-11 975397 V1
Case 1:17-cv-00359-WES-PAS Document 1 Filed 08/07/17 Page 20 of 51 PageID #: 20



                   CVS Health is committed to educating patients about this system and helping

                   them make informed decisions.” Id. at 27.

          37.      Contrary to these public representations, CVS is not “committed to educating

 patients” about their health care spending or “helping them make informed decisions,” nor is it

 “committed to making health care more affordable and accessible,” “making prescription drugs

 more affordable,” or “committed to bringing accessible and affordable care to as many people as

 we can.” And it entered into this fraudulent scheme despite its own recognition that wrong

 decisions can have a “lasting impact” on customers’ health care spending, that 21% of

 Americans in 2016 “put off filling a prescription due to affordability concerns,” and that “any

 roadblock” to treatment, including tight budgets, “can lead to a cascade of undesired effects.”

 Undoubtedly true—but CVS persisted with its plan to overcharge its customers.

          C.       CVS is a fiduciary under ERISA.

          38.      The ERISA Subclass (defined below) members are participants in employee

 welfare benefit plans pursuant to 19 U.S.C. § 1002(1)(A), administered by PBMs to provide

 participants with medical care and prescription medications (“ERISA Plans”).

          39.      Under ERISA, persons are fiduciaries if they perform any fiduciary function. A

 person is a fiduciary to the extent:

                   (i) he [or she] exercises any discretionary authority or discretionary
                   control respecting management of such plan or exercises any
                   authority or control respecting management or disposition of its
                   assets, (ii) he [or she] renders investment advice for a fee or other
                   compensation, direct or indirect, with respect to any moneys or
                   other property of such plan, or has any authority or responsibility
                   to do so, or (iii) he [or she] has any discretionary authority or
                   discretionary responsibility in the administration of such plan.

 29 U.S.C. § 1002(21)(A).




                                                   - 17 -
 010698-11 975397 V1
Case 1:17-cv-00359-WES-PAS Document 1 Filed 08/07/17 Page 21 of 51 PageID #: 21



          40.      At all times relevant herein, CVS was a fiduciary under ERISA because it

 exercised authority and control over disposition of the assets of the health care plans based on its

 role in collecting payments from customers and remitting a portion of it back to the PBMs. The

 copayments, coinsurance, and deductible payments CVS collected from participants and

 beneficiaries are “plan assets” under ERISA. CVS also acted as a fiduciary in exercising

 discretionary authority, control, and responsibility regarding the management and administration

 of such plan, including whether to charge a customer the cash price or the insurer’s price.

          41.      The pharmacies were well aware of their participation in this scheme, including

 their control over the assets of the plan, as the computer system they used instantly showed the

 flow of funds at the Point of Sale:




          42.      This screenshot of a pharmacist’s computer, in the bottom right-hand corner,

 shows the “copay” of $10, the total fees paid to the pharmacy ($7.23), and the spread of $2.77

 “remitted” back to the PBM.




                                                 - 18 -
 010698-11 975397 V1
Case 1:17-cv-00359-WES-PAS Document 1 Filed 08/07/17 Page 22 of 51 PageID #: 22



          43.      A fiduciary has a strict duty to serve the plan fiduciaries. Under § 404(a) of

 ERISA (29 U.S.C. § 1104(a)(1)):

                   [A] fiduciary shall discharge his duties with respect to a plan solely
                   in the interest of the participants and beneficiaries and . . . for the
                   exclusive purpose of: (i) providing benefits to participants and
                   their beneficiaries; and (ii) defraying reasonable expenses of
                   administering the plan; . . . with the care, skill, prudence, and
                   diligence under the circumstances then prevailing that a prudent
                   man acting in a like capacity and familiar with such matters would
                   use in the conduct of an enterprise of a like character and with like
                   aims[.]

          44.      CVS breached its duty of loyalty by entering into agreements with PBMs that

 created a blatant conflict of interest, in that CVS agreed to a scheme in which it could not

 provide its best advice to its customers. It agreed to overcharge customers for their medications,

 many of which customers relied on for maintenance care. It also agreed to keep silent about the

 scheme and not provide customers with complete and accurate information about their

 medications. Such conduct is in blatant disregard of its responsibilities as a fiduciary.

          45.      CVS is also a party in interest because CVS provides services to the insurance

 plans in the form of pharmaceutical sales. See 29 USC § 1002(14)(B).

          46.      Finally, CVS is also a co-fiduciary. Under 29 U.S.C. § 1105, CVS is liable for the

 acts of other fiduciaries, as follows:

                   In addition to any liability which he may have under any other
                   provisions of this part, a fiduciary with respect to a plan shall be
                   liable for a breach of fiduciary responsibility of another fiduciary
                   with respect to the same plan in the following circumstances:

                   (1) if he participates knowingly in, or knowingly undertakes to
                   conceal, an act or omission of such other fiduciary, knowing such
                   act or omission is a breach;

                   (2) if, by his failure to comply with section 1104(a)(1) of this title
                   in the administration of his specific responsibilities which give rise
                   to his status as a fiduciary, he has enabled such other fiduciary to
                   commit a breach; or


                                                   - 19 -
 010698-11 975397 V1
Case 1:17-cv-00359-WES-PAS Document 1 Filed 08/07/17 Page 23 of 51 PageID #: 23



                   (3) if he has knowledge of a breach by such other fiduciary, unless
                   he makes reasonable efforts under the circumstances to remedy the
                   breach.

          47.      CVS is enabling the scheme by the other fiduciaries to continue, particularly the

 PBMs. Without CVS’s agreement to sell the Affected Drugs at inflated rates, remit the

 “spread” back to the PBMs, and remain silent about it with the customers, the clawback scheme

 would never have been successful. CVS fully knew and understood that PBMs act as fiduciaries

 with respect to customers’ health care plans, and CVS enabled the PBMs’ breach of their

 fiduciary duties by their participation in the fraudulent scheme.

          48.      In addition, non-fiduciaries—regardless of whether they are parties in interest—

 who knowingly participate in a fiduciary breach may still be liable under ERISA.36 Even if CVS

 is not deemed to be a fiduciary, it still must disgorge unjust profits or fees and is subject to other

 equitable relief.

          49.      CVS maximized their own profits, profits of the PBMs, and profits to third parties

 at the expense of the ERISA Subclass.

          50.      All times relevant herein, the Main PBMs, as well as all other PBMs, were

 fiduciaries under ERISA because they exercised discretionary authority and discretionary control

 over management and administration of a health care plan, and exercised authority and control

 regarding the management and disposition of its assets. The PBMs in particular (a) controlled

 computations of prescription drug payments and set cost-sharing payments greater than the

 amounts allowed under the plans; (b) set the amounts of the spread and clawbacks; and




     36
         29 U.S.C. § 1132(a)(3) (“A civil action may be brought . . . by a participant, beneficiary, or
 fiduciary (A) to enjoin any act or practice which violates any provision of this subchapter or the
 terms of the plan, or (B) to obtain other appropriate equitable relief (i) to redress such violations
 or (ii) to enforce any provisions of this subchapter or the terms of the plan . . . .”).


                                                  - 20 -
 010698-11 975397 V1
Case 1:17-cv-00359-WES-PAS Document 1 Filed 08/07/17 Page 24 of 51 PageID #: 24



 (c) exercised authority and control over plan assets, including customers’ cost-sharing payments

 and the contracts with the insurance companies.

                       IV.   TOLLING OF THE STATUTE OF LIMITATIONS

 A.       The Statute of Limitations is tolled because Class members could not have
          reasonably discovered the secret scheme.

          51.      Class members had no way of knowing about CVS’s deception with respect to

 overpayment of the Affected Drugs. Indeed, as detailed above, CVS agreed to keep the scheme

 secret and to not tell customers about their overpayments.

          52.      Within the time period of any applicable statutes of limitation, Plaintiff and

 members of the proposed classes could not have discovered, through the exercise of reasonable

 diligence, that CVS was concealing the conduct detailed in this Complaint.

          53.      Plaintiff and the other Class members did not discover, and did not know of, facts

 that would have caused a reasonable person to suspect that CVS did not report information

 within its knowledge to its customers or federal and state authorities; nor would a reasonable and

 diligent investigation have disclosed that CVS had concealed information about the overpayment

 of the Affected Drugs, which was discovered by Plaintiff only shortly before this action was

 filed. Nor, in any event, would such an investigation on the part of Plaintiff and other Class

 members have disclosed that CVS valued profits over their obligation to be truthful with their

 customers and comply with the law.

          54.      For these reasons, all applicable statutes of limitation have been tolled by

 operation of the discovery rule with respect to Plaintiff’s claims.




                                                   - 21 -
 010698-11 975397 V1
Case 1:17-cv-00359-WES-PAS Document 1 Filed 08/07/17 Page 25 of 51 PageID #: 25



 B.       The Statute of Limitations is tolled because CVS fraudulently concealed the scheme.

          55.      All applicable statutes of limitation have also been tolled by CVS’s knowing and

 active fraudulent concealment and denial of the facts alleged herein throughout the time period

 relevant to this action.

          56.      Instead of disclosing their fraudulent scheme, CVS entered into agreements with

 the PBMs to keep the scheme secret. CVS even voluntarily entered into agreements that

 provided for retaliatory action if it disclosed the secret scheme to customers. CVS and the PBMs

 were able to keep the scheme secret from the Class for years.

 C.       CVS, by its failure to disclose the scheme, is estopped from relying on any Statute of
          Limitations.

          57.      CVS was under a continuous duty to disclose to Plaintiff and the other Class

 members that it had entered into these secret agreements, that it was not being truthful in making

 representations about the true cost of the pharmaceutical, that it was paying clawbacks to the

 PBMs, and that customers’ “co-pays” were not co-pays at all, but “all-pays,” which an addition

 sum of money going to CVS and the PBMs. .

          58.      CVS knowingly, affirmatively, and actively concealed or recklessly disregarded

 the true nature, quality, and character of the fraudulent scheme.

          59.      Based on the foregoing, CVS is estopped from relying on any statutes of

 limitations in defense of this action.

                                    V.      CLASS ALLEGATIONS

          60.      Plaintiff brings this action on behalf of herself and as a class action pursuant to

 the provisions of Rules 23(a) and (b)(3) of the Federal Rules of Civil Procedure, on behalf of the

 following class and subclasses (collectively, the “Classes”).

                   The RICO Class



                                                   - 22 -
 010698-11 975397 V1
Case 1:17-cv-00359-WES-PAS Document 1 Filed 08/07/17 Page 26 of 51 PageID #: 26



                   All persons or entities in the United States who, as of August 7,
                   2017, were participants in or beneficiaries of or insured under a
                   health benefit plan administered by a Pharmacy Benefit Manager,
                   and who bought prescription drugs from CVS pursuant to such
                   plan for a higher price than the amount owed to the pharmacy.

                   The ERISA Subclass

                   All persons or entities in the United States who, as of August 7, 2017, were
                   participants in or beneficiaries of or insured under a health benefit plan subject to
                   ERISA and administered by a Pharmacy Benefit Manager, and who bought
                   prescription drugs from CVS pursuant to such plan for a higher price than the
                   amount owed to the pharmacy.


                   The California Subclass

                   All persons or entities in the state of California who, as of August
                   7, 2017, were participants in or beneficiaries of or insured under a
                   health benefit plan administered by a Pharmacy Benefit Manager,
                   and who bought prescription drugs from CVS pursuant to such
                   plan for a higher price than the amount owed to the pharmacy.

          61.      Excluded from the Class are CVS; any parent, subsidiary, or affiliate of CVS or

 any employees, officers, or directors of CVS; legal representatives, successors, or assigns of

 CVS; and any justice, judge or magistrate judge of the United States who may hear the case, and

 all persons related to any such judicial officer, as defined in 28 U.S.C. § 455(b).

          62.      Certification of Plaintiff’s claims for classwide treatment is appropriate because

 Plaintiff can prove the elements of her claims on a classwide basis using the same evidence as

 would be used to prove those elements in individual actions alleging the same claim.

          63.      This action has been brought and may be properly maintained on behalf of each of

 the Classes proposed herein under Federal Rule of Civil Procedure 23.

          64.      Numerosity. The Class is so numerous as to make it impracticable to join all

 members as plaintiffs. Based upon the investigation of counsel, the number of members of the

 Class is estimated to be at least, and likely far in excess of, one million persons.




                                                   - 23 -
 010698-11 975397 V1
Case 1:17-cv-00359-WES-PAS Document 1 Filed 08/07/17 Page 27 of 51 PageID #: 27



          65.      Commonality and Predominance. There are questions of law and fact that are

 common to all members of the Class, which questions predominate over any question affecting

 only individual members, including:

                   a.     Whether CVS entered into secret contracts with the PBMs;

                   b.     Whether these secret contracts set a price that CVS had to charge
                          customers;

                   c.     Whether these secret contracts mandated that no party could disclose the
                          existence of the terms;

                   d.     Whether these contracts resulted in customers paying a higher price when
                          they used their insurance as compared to paying cash;

                   e.     Whether these secret contracts required CVS to remit a “clawback”
                          payment to the PBMs;

                   f.     Whether CVS is a fiduciary under ERISA; and

                   g.     Whether CVS had a duty to disclose the lowest available price to its
                          customers.

          66.      The only individual questions concern the computation of damages and/or

 restitution amounts to be awarded to each Class member, which questions can be determined by

 a ministerial examination of the relevant files. For notice purposes, members of the Class can be

 identified using CVS’s computerized databases of insureds’ records.

          67.      Typicality. Plaintiff’s claims are typical of the claims of all the other members of

 the Class, because Plaintiff’s claims are based on the same legal and remedial theories as the

 claims of the Class and arise from the same course of conduct by CVS.

          68.      Adequacy. Plaintiff will fairly and adequately protect the interest of all Class

 members in the prosecution of this action and in the administration of all matters relating to the

 claims stated herein. Plaintiff is similarly situated with, and has suffered similar injuries as, the

 members of the Class she seeks to represent. Plaintiff has retained counsel experienced in




                                                   - 24 -
 010698-11 975397 V1
Case 1:17-cv-00359-WES-PAS Document 1 Filed 08/07/17 Page 28 of 51 PageID #: 28



 handling class action lawsuits involving RICO and consumer protection claims. Neither Plaintiff

 nor her counsel have any interest that might cause them not to vigorously pursue this action.

          69.      Declaratory Relief. CVS has acted or refused to act on grounds generally

 applicable to Plaintiff and the other members of the Classes, thereby making appropriate

 declaratory relief, with respect to each Class as a whole.

          70.      Superiority. A class action is superior to other available methods for the fair and

 efficient adjudication of the controversy, in that:

                   a.      The losses suffered by the Class members are such that prosecution of
                           individual actions is impractical or economically unfeasible;

                   b.      By contrast, the profits obtained by CVS as a result of its unlawful
                           practices are substantial;

                   c.      In the absence of the class action device, Plaintiff and the Class would be
                           left without a remedy for the wrongful acts alleged and CVS will be
                           unjustly enriched;

                   d.      The prosecution of separate lawsuits by individual members of the Class
                           would create the risk of inconsistent adjudications, which would establish
                           incompatible standards of conduct for CVS, making concentration of the
                           litigation concerning this matter in this Court desirable;

                   e.      The claims of the representative Plaintiff is typical of the claims of the
                           Class; and

                   f.      No unusual difficulties are likely to be encountered in the management of
                           this action as a class action.

          A.       Claims Brought on Behalf of the RICO Class

                                                COUNT I

                       VIOLATIONS OF THE RACKETEER INFLUENCED AND
                               CORRUPT ORGANIZATIONS ACT
                                     (18 U.S.C. § 1962(C))

          71.      Plaintiff realleges and incorporates by reference all paragraphs as though fully set

 forth herein. At all times relevant, defendant CVS was a “person” as described in 18 U.S.C.




                                                   - 25 -
 010698-11 975397 V1
Case 1:17-cv-00359-WES-PAS Document 1 Filed 08/07/17 Page 29 of 51 PageID #: 29



 § 1961(3) in that it is a legal entity capable of holding a legal or beneficial interest in real

 property.

          72.      18 U.S.C. § 1962(c) makes it “unlawful for any person employed by or associated

 with any enterprise engaged in, or the activities of which affect, interstate or foreign commerce,

 to conduct or participate, directly or indirectly, in the conduct of such enterprise’s affairs through

 a pattern of racketeering activity.”

          73.      18 U.S.C. § 1962(d), among other provisions, makes it unlawful for “any person

 to conspire to violate” the RICO statute.

          1.       CVS played a crucial role in the Overpayment Enterprise and Individual
                   Overpayment Enterprises.

          74.      CVS and PBMs, including but not limited to OptumRx, CVS Caremark, Express

 Scripts, and MedImpact, and each of their employees and agents, constitute an association-in-

 fact enterprise as described in 18 U.S.C. § 1961(4) (the “Overpayment Enterprise”).

          75.      CVS also formed separate association-in-fact enterprises (collectively, the

 “Individual Overpayment Enterprises”) as follows:

                   Express Scripts Overpayment Enterprise

                   CVS, including its employees and agents; and Express Scripts, including its
                   employees and agents.

                   OptumRx Overpayment Enterprise

                   CVS, including its employees and agents; and OptumRx, including its employees
                   and agents.

                   MedImpact Overpayment Enterprise

                   CVS, including its employees and agents; and MedImpact, including its
                   employees and agents.

          76.      At all relevant times, the Overpayment Enterprise and Individual Overpayment

 Enterprises: (a) had an existence separate and distinct from CVS; (b) were separate and distinct


                                                  - 26 -
 010698-11 975397 V1
Case 1:17-cv-00359-WES-PAS Document 1 Filed 08/07/17 Page 30 of 51 PageID #: 30



 from the pattern of racketeering in which CVS engaged; and (c) were ongoing organizations

 consisting of legal entities, including CVS and non-defendant parties, and other entities and

 individuals associated for the common purpose of selling the Affected Drugs at prices higher

 than the costs to CVS. Each member of the Overpayment Enterprise and Individual

 Overpayment Enterprises shared in the bounty generated by the enterprise—i.e., by sharing the

 benefit derived from inflated prices and by bringing more customers into CVS stores.

          77.      The constituent members of the association-in-fact Overpayment Enterprise and

 Individual Overpayment Enterprises functioned as a continuing unit and had the requisite

 structural features as mandated by Boyle v. United States, 556 U.S. 938 (2009). First, they had a

 purpose, as members worked together to defraud customers who purchased their prescriptions at

 CVS through entering into secret arrangements so that CVS would receive reimbursements and

 make a larger profit from individuals using their insurance, while the PBMs would also receive a

 profit in the form of a “clawback” paid from CVS, also pursuant to secret undisclosed contracts

 between CVS and the PBM.

          78.      Second, there were relationships among those associated with the Overpayment

 Enterprise and Individual Overpayment Enterprises as members worked together to perpetuate

 the fraud. The scheme would only work with the involvement of both CVS and the insurer/PBM

 working together, all pursuant to secret, undisclosed contracts that defrauded Plaintiff and the

 RICO Class. CVS shared profits with the PBMs pursuant to these undisclosed agreements and

 acted in concert with the insurers/PBMs to coordinate the sharing of profits. Neither CVS nor the

 Insurers and their PBMs individually could have accomplished the scheme without working

 together to coordinate the fraudulent scheme, which included sharing the fruits of their scheme

 pursuant to the secret contracts.




                                                - 27 -
 010698-11 975397 V1
Case 1:17-cv-00359-WES-PAS Document 1 Filed 08/07/17 Page 31 of 51 PageID #: 31



          79.      During all relevant times herein, each of the PBMs was aware that it was part of a

 larger structure serving the common purpose of defrauding customers and increasing profits by

 secretly contracting with CVS to receive clawback payments. All of the PBMs contributed to this

 scheme by at least impliedly agreeing that they would not disclose the other PBMs’ clawback

 agreements so that they could continue to benefit from their own clawback agreements with

 CVS.

          80.      Lastly, there was longevity as the relationships between the members of the

 Overpayment Enterprise and Individual Overpayment Enterprises have lasted for several years

 and continue to the present.

          2.       CVS actively conducted and directed affairs of the Overpayment Enterprise
                   and Individual Overpayment Enterprises.

          81.      Defendant CVS participated in the “operation or management” of the

 Overpayment Enterprise and Individual Overpayment Enterprises as it was the point-of-contact

 with defrauded Plaintiff and members of the RICO Class. CVS, though its secret contracts with

 members of the Overpayment Enterprise and Individual Overpayment Enterprises, received

 profits and directed the payment of the “clawbacks” to the PBMs. CVS directed the customers to

 give CVS their insurance information, directed them to provide payment pursuant to the terms of

 the PBM contracts, collected the payment, and sent payment to the PBMs. CVS and the other

 members of the Overpayment Enterprise and Individual Overpayment Enterprises would not

 have been able to defraud Plaintiff and the Class without colluding with each other. As a result,

 CVS had direction in conducting and operating in the affairs of the association-in-fact

 Overpayment Enterprise and Individual Overpayment Enterprises.




                                                  - 28 -
 010698-11 975397 V1
Case 1:17-cv-00359-WES-PAS Document 1 Filed 08/07/17 Page 32 of 51 PageID #: 32



          3.       CVS engaged in racketeering activity by committing mail and wire fraud.

          82.      In the District of Rhode Island and elsewhere, from in or about year 2010 and

 continuing until the present, CVS, a person associated with the Overpayment Enterprise and

 Individual Overpayment Enterprises, did knowingly and unlawfully conduct or participate,

 directly or indirectly, in the affairs of the Overpayment Enterprise and Individual Overpayment

 Enterprises through a pattern of racketeering activity—i.e., acts indictable under 18 U.S.C.

 §§ 1341 & 1343, all in violation of 18 U.S.C. § 1962(c).

          83.      As described in detail in the factual allegations above, CVS did conduct and

 participate in the Overpayment Enterprise’s and Individual Overpayment Enterprises’ affairs

 through a pattern of racketeering activity and for the unlawful purpose of intentionally

 defrauding Plaintiff and the Class. CVS knowingly concealed from customers material

 information resulting in the systematic deception of Plaintiff and Class members who paid for

 prescription drugs in amounts greater than they would have otherwise paid, resulting in direct

 and proximate injury to Plaintiff and Class members.

          84.      Specifically, CVS has committed, conspired to commit, and/or aided and abetted

 in the commission of at least two predicate acts of racketeering activity (i.e., violations of 18

 U.S.C. §§ 1341 & 1343) within the past ten years. The multiple acts of racketeering activity that

 CVS committed and/or aided or abetted in the commission of were related to each other and

 posed a threat of continued racketeering activity, and they therefore constitute a “pattern of

 racketeering activity.” The racketeering activity was made possible by CVS’s regular use of the

 facilities, services, distribution channels, and employees of the Overpayment Enterprise and

 Individual Overpayment Enterprises. CVS participated in the scheme to defraud by using mail,

 telephone, and the Internet to transmit mailings and wires in interstate or foreign commerce.




                                                 - 29 -
 010698-11 975397 V1
Case 1:17-cv-00359-WES-PAS Document 1 Filed 08/07/17 Page 33 of 51 PageID #: 33



          85.      In devising and executing the illegal scheme, CVS devised and knowingly carried

 out a material scheme and/or artifice to defraud Plaintiff and the RICO Class or to obtain money

 from Plaintiff and the RICO Class by means of materially false or fraudulent pretenses,

 representations, promises, or omissions of material facts. For the purpose of executing the illegal

 scheme, CVS committed these racketeering acts intentionally and knowingly with the specific

 intent to advance the illegal scheme.

          86.      CVS’s predicate acts of racketeering, 18 U.S.C. § 1961(1), include but are not

 limited to:

                   a.     Mail Fraud: CVS violated 18 U.S.C. § 1341 by sending and
                          receiving, and by causing to be sent and/or received, materials via
                          U.S. Mail or commercial interstate carriers for the purpose of
                          executing the unlawful scheme to defraud and obtain money on
                          false pretenses, misrepresentations, promises, and omissions.

                   b.     Wire Fraud: CVS violated 18 U.S.C. § 1343 by transmitting
                          and/or receiving, and by causing to be transmitted and/or received,
                          materials by wire for the purpose of executing the unlawful scheme
                          to defraud and obtain money on false pretenses,
                          misrepresentations, promises, and omissions.

          87.      CVS’s use of the mails and wires includes, but is not limited to, the transmission,

 delivery, and shipment of the following by CVS, other members of the Overpayment Enterprise

 and Individual Overpayment Enterprises, and third parties that were foreseeably caused to be

 sent or received as a result of CVS’s illegal scheme:

                         Every Point of Sale transmission with the PBMs that was sent and
                          received for every purchase at a CVS pharmacy of the Affected Drugs;

                         Every remittance of funds wired from CVS to the PBMs;

                         Every payment Plaintiff and Class members made by credit or debit cards
                          for their medications;

                         Shipment of the Affected Drugs in interstate commerce from the
                          wholesales to CVS; and




                                                  - 30 -
 010698-11 975397 V1
Case 1:17-cv-00359-WES-PAS Document 1 Filed 08/07/17 Page 34 of 51 PageID #: 34



                         Point of Sale transmissions and remittance of funds between CVS and the
                          PBMs, and Plaintiff’s credit or debit card payments, regarding the
                          following purchases of drugs by Plaintiff:

                          o       Drug 1: July 6, 2016 for $98.65; and August 6, 2016 for $58.43.

                          o       Drug 2: January 28, 2017 for $15.60; March 1, 2017 for $15.60;
                                  April 8, 2017 for $15.60; May 8, 2017 for $15.60; June 8, 2017 for
                                  $16.15; and July 8, 2017 for $16.75.

                          o       Drug 3: July 6, 2017 for $101.49.

                          o       Drug 4: June 27, 2017 for $165.68.

          88.      Pursuant to and in furtherance of the fraudulent scheme, on multiple, continuous

 occasions over the course of several years, CVS used U.S. Mail and the Internet, and made

 multiple interstate telephone calls to, inter alia, communicate and collude with insurers and

 PBMs to set prices for prescription medications at its retail pharmacies at artificially inflated

 amounts that resulted in payments to CVS, insurers, and their PBM agents that Plaintiff and the

 other members of the Class would not otherwise have made. CVS also used U.S. Mail, the

 Internet, radio, and television to solicit Plaintiff and the other members of the Class to purchase

 prescription medications at its retail pharmacies.

          89.      Many of the precise dates of the fraudulent uses of the U.S. Mail and interstate

 wire facilities are hidden to the Plaintiff and cannot be alleged without access to CVS’s books

 and records. However, Plaintiff has described the types of predicate acts of mail and/or wire

 fraud that occurred.

          90.      It was and is reasonably foreseeable to CVS (as well as the insurers/PBMs

 conspirators) that mail, interstate carrier and wire transmissions would be used—and mail,

 interstate carriers and wire transmissions were in fact used—in furtherance of the scheme.

          91.      Pursuant to this systematic system of deception, certain Class members entered

 into transactions to their economic detriment.



                                                  - 31 -
 010698-11 975397 V1
Case 1:17-cv-00359-WES-PAS Document 1 Filed 08/07/17 Page 35 of 51 PageID #: 35



          92.      For example, throughout 2016 and 2017, Plaintiff Schultz made a number of

 prescription drug purchases from CVS pursuant to her Anthem Blue Cross plan. During just this

 period, she lost at least $187.95 by paying the insurance price and not the cash price.

          93.      CVS/Pharmacy has therefore committed multiple instances of mail fraud under 18

 U.S.C. § 1341 and wire fraud under 18 U.S.C. § 1343 continuously over the course of several

 years.

          4.       CVS engaged in a pattern of racketeering by continually defrauding
                   customers.

          94.      From at least 2010 until the present, CVS engaged in a pattern of racketeering

 whereby CVS, along with PBMs and insurers, engaged in a scheme to defraud Plaintiff and

 Class members. CVS, with other members of the Overpayment Enterprise and Individual

 Overpayment Enterprises, systematically deceived Plaintiff and Class members (pursuant to

 secret, undisclosed contracts) into believing that Plaintiff and Class members would be receiving

 the prescribed medications at the lowest cost when in fact they were being overcharged. Plaintiff

 and Class members could not know that the drugs can be purchased at lower out-of-pocket costs

 by simply not using insurance coverage for the purchase. This conduct occurred continuously

 from at least 2010 and continues to this day over the course of tens of thousands of transactions.

          95.      Plaintiff alleges that the course of conduct engaged in by CVS constituted both

 “continuity” and “relatedness” of the racketeering activity, thereby constituting a pattern of

 racketeering activity as that term is defined in 18 U.S.C. § 1961(5). The predicate acts have the

 “same or similar purposes, results, participants, victims, or methods of commission, or are

 otherwise interrelated by distinguishing characteristics and are not isolated events.” Here, the

 acts of mail and wire fraud have the same or similar purpose (i.e., to defraud Plaintiff and Class

 members into paying an excessive amount for prescription drugs), involve the same class of



                                                  - 32 -
 010698-11 975397 V1
Case 1:17-cv-00359-WES-PAS Document 1 Filed 08/07/17 Page 36 of 51 PageID #: 36



 participants and victims, and are carried out by the same of similar methods of commission (i.e.,

 by concealing the fact that CVS and its conspirators would receive excess profits by having

 customers use their prescription drug coverage).

           96.     Plaintiff alleges that the pattern of racketeering activity constituted closed-ended

 continuity as these were continuous acts occurring over a substantial period of time—i.e., at least

 six years. Plaintiff alleges that the pattern of racketeering activity constituted “open-ended”

 continuity based upon a threat of continuing racketeering activity because the predicate activity

 itself is continuing and the predicate acts of fraud are the regular way of conducting Defendant’s

 ongoing legitimate business.37 Because such culpable conduct was part of the regular way of

 conducting the Defendant’s legitimate business, such conduct provides an inference that such

 offenses will continue indefinitely if not interrupted.

           5.      CVS proximately caused the RICO Class’s damages.

           97.     As a result of Defendant’s illegal racketeering activities constituting mail and

 wire fraud, Plaintiff sustained economic damages.

           98.     As a direct and proximate result of CVS’s racketeering activities and violations of

 18 U.S.C. § 1962(c), Plaintiff and Class members have been injured in their business and

 property in the amounts of the monies they overpaid for prescription medications. CVS aided

 and abetted others in the violations of the above laws, thereby rendering them indictable as

 principals in the 18 U.S.C. §§ 1341 & 1343 offenses. CVS is liable to Plaintiff and members of

 the Class for all of these actual damages caused in an amount to be proved at trial, trebled

 pursuant to 18 U.S.C. § 1964(c).




     37
          See H.J. Inc. v. Nw. Bell Tel. Co., 492 U.S. 229, 243 (1989).


                                                   - 33 -
 010698-11 975397 V1
Case 1:17-cv-00359-WES-PAS Document 1 Filed 08/07/17 Page 37 of 51 PageID #: 37



                                               COUNT II

                       VIOLATIONS OF THE RACKETEER INFLUENCED AND
                               CORRUPT ORGANIZATIONS ACT
                                     (18 U.S.C. § 1962(D))

          99.      Plaintiff realleges and incorporates by reference all paragraphs as though fully set

 forth herein.

          100.     Plaintiff alleges that commencing from at least 2010 and continuing until the

 present, CVS conspired to violate section 18 U.S.C. § 1962(c)—i.e., CVS agreed that the co-

 conspirators, including CVS, would conduct or participate in the affairs of the Overpayment

 Enterprise and Individual Overpayment Enterprises through a pattern of racketeering, including

 acts indictable under 18 U.S.C. §§ 1341 & 1343, as more fully described above in Count I.

 Plaintiff alleges that the conspiratorial objective of that mutual agreement between CVS and the

 co-conspirators was intended to obtain Plaintiff’s interests in business and/or property and that

 such conspiratorial conduct violates 18 U.S.C. § 1962(d).

          101.     CVS herein agreed with other members of the Overpayment Enterprise and

 Individual Overpayment Enterprises to engage in a scheme to defraud Plaintiff and Class

 Members of monies, all pursuant to secret contracts with other members of the Overpayment

 Enterprise and Individual Overpayment Enterprises. Pursuant to these secret agreements, CVS

 and the PBMs systematically deceived Plaintiff and Class members into believing that they were

 paying the lowest cost for their prescription drugs when in fact they were being overcharged. As

 a result, Defendant agreed with conspirators that it would conduct the affairs of the association-

 in-fact Overpayment Enterprise and Individual Overpayment Enterprises through a pattern of

 racketeering, all in violation of 18 U.S.C. § 1962(d).

          102.     But for CVS’s agreement with conspirators, Plaintiff would not have sustained

 economic damages.


                                                  - 34 -
 010698-11 975397 V1
Case 1:17-cv-00359-WES-PAS Document 1 Filed 08/07/17 Page 38 of 51 PageID #: 38



          103.     CVS’s agreement that it, along with its co-conspirators, would commit illegal

 racketeering activities—i.e., the effecting of acts of mail and wire fraud—was a direct and

 proximate cause of Plaintiff’s sustained economic damages.

          104.     As a direct and proximate result of CVS’s racketeering activities and violations of

 18 U.S.C. § 1962(d), Plaintiff and Class members have been injured in their business and

 property in the amounts of the monies they overpaid for prescription medications, and CVS is

 liable to Plaintiff and Class members for all actual damage caused in an amount to be proved at

 trial, trebled pursuant to 18 U.S.C. § 1964(c).

          B.       Claims Brought on Behalf of the ERISA Subclass

                                                COUNT I

                                   ENFORCEMENT OF RIGHTS
                                   UNDER HEALTH CARE PLAN
                                     (29 U.S.C. 1132(A)(1)(B))

          105.     Plaintiff incorporates by reference all paragraphs as though fully set forth herein.

          106.     ERISA § 502(a)(1)(B) (29 U.S.C. § 1132(a)(1)(B)) provides that a participant or

 beneficiary may bring an action to enforce her rights under the terms of a plan or clarify her right

 to future benefits under the plan.

          107.     As detailed herein, Plaintiff and Class members have been, and will continue to

 be, denied their rights under their respective plans to be charged a lower amount for their

 prescriptions. They have been injured in the amount they paid that is in excess of what the

 pharmacy was due to be paid.

          108.     Plaintiff and Class members are entitled to enforce their rights under the terms of

 the plans and clarify their future rights, and accordingly allege that they are entitled to an Order

 providing (1) that they have been overcharged; (2) an accounting of the charges and overcharges




                                                   - 35 -
 010698-11 975397 V1
Case 1:17-cv-00359-WES-PAS Document 1 Filed 08/07/17 Page 39 of 51 PageID #: 39



 by CVS and the PBMs; (3) payment of all amount due to them under their plans; and (4) an order

 enjoining the fraudulent clawback scheme.

                                                COUNT II

                             FIDUCIARY CONFLICTS OF INTEREST
                                    (29 U.S.C. § 1132(A)(3))

          109.     Plaintiff incorporates by reference all paragraphs as though fully set forth herein.

          110.     Pursuant to ERISA 406(b) (29 U.S.C. § 1106(b)), a fiduciary with respect to a

 plan shall not “in [her] individual or in any other capacity act in any transaction involving the

 plan on behalf of a party (or represent a party) whose interests are adverse to the interests of the

 plan or the interests of its participants or beneficiaries.”

          111.     Pursuant to ERISA § 502(a)(3) (29 U.S.C. § 1132(a)(3)), a participant or

 beneficiary may bring a civil action “(A) to enjoin any act or practice which violates any

 provision of this subchapter or the terms of the plan, or (B) to obtain other appropriate equitable

 relief (i) to redress such violations or (ii) to enforce any provisions of this subchapter or the

 terms of the plan.”

          112.     As alleged herein, CVS is a fiduciary to the ERISA Plan, and has violated all

 three of these provisions. CVS has acted on behalf of third party fiduciaries—including but not

 limited to PBMs—who also stood to profit from the fraudulent clawback scheme at the expense

 of Plaintiff and Class members. CVS engaged in conflicted transactions each time it facilitated,

 allowed, or agreed to participate in the clawback scheme because CVS had an obligation to

 “discharge [its] duties with respect to a plan solely in the interest of the participants and

 beneficiaries and . . . for the exclusive purpose of providing benefit to participants and their

 beneficiaries.”




                                                   - 36 -
 010698-11 975397 V1
Case 1:17-cv-00359-WES-PAS Document 1 Filed 08/07/17 Page 40 of 51 PageID #: 40



          113.     The Court accordingly should order equitable relief to Plaintiff and Class

 members, including but not limited to (a) an accounting; (b) a surcharge; (c) correction of the

 transactions; (d) disgorgement of profits; (e) an equitable lien; (f) a constructive trust;

 (g) restitution; (h) full disclosure of the foregoing acts and practices; (i) an injunction against

 further violations; and/or (j) any other relief the Court deems proper.

                                                 COUNT III

                                      LACK OF ADEQUATE CARE
                                        (29 U.S.C. § 1104(A)(1))

          114.     Plaintiff incorporates by reference all paragraphs as though fully set forth herein.

          115.     ERISA § 404(a)(1) (29 U.S.C. § 1104(a)(1)) provides as follows:

                   [A] fiduciary shall discharge his duties with respect to a plan solely
                   in the interest of the participants and beneficiaries and . . . for the
                   exclusive purpose of: (i) providing benefits to participants and
                   their beneficiaries; and (ii) defraying reasonable expenses of
                   administering the plan; . . . with the care, skill, prudence, and
                   diligence under the circumstances then prevailing that a prudent
                   man acting in a like capacity and familiar with such matters would
                   use in the conduct of an enterprise of a like character and with like
                   aims[.]

          116.         CVS failed to take adequate care by engaging in a fraudulent scheme to

 overcharge its customers, by failing to inform customers that they would pay less for drugs in

 many instances if they paid the cash price, and by agreeing to keep the scheme secret so that

 CVS and the PBMs could continue to overcharge their customers.

          117.     The Court accordingly should order equitable relief to Plaintiff and Class

 members, including but not limited to (a) an accounting; (b) a surcharge; (c) correction of the

 transactions; (d) disgorgement of profits; (e) an equitable lien; (f) a constructive trust;

 (g) restitution; (h) full disclosure of the foregoing acts and practices; (i) an injunction against

 further violations; and/or (j) any other relief the Court deems proper.



                                                    - 37 -
 010698-11 975397 V1
Case 1:17-cv-00359-WES-PAS Document 1 Filed 08/07/17 Page 41 of 51 PageID #: 41



 C.       Claims Brought on Behalf of the California Subclass

                                                COUNT I

            VIOLATIONS OF THE CALIFORNIA UNFAIR COMPETITION LAW
                     (CAL. BUS. & PROF. CODE § 17200 ET SEQ.)

          118.     Plaintiff incorporates by reference all paragraphs as though fully set forth herein.

          119.     Plaintiff brings this Count on behalf of the California Subclass.

          120.     California’s Unfair Competition Law (UCL), CAL. BUS. & PROF. CODE § 17200 et

 seq., proscribes acts of unfair competition, including “any unlawful, unfair or fraudulent business

 act or practice and unfair, deceptive, untrue or misleading advertising.”

          121.     CVS’s conduct, as described herein, was and is in violation of the UCL. CVS’s

 conduct violates the UCL in at least the following ways:

                   i.     By failing to disclose the cash price when the cash price was cheaper than
                          the insurance price;

                   ii.    By representing to the public that CVS was committed to offering
                          affordable health care, when in fact it was knowingly overcharging for the
                          Affected Drugs;

                   iii.   By entering into a fraudulent scheme to remit clawback payments to the
                          PBMs, which was the spread between what the customer paid and what
                          the pharmacy was paid;

                   iv.    By representing that a customer’s payment was a “co-payment,” when in
                          fact it paid the full price of the drug;

                   iv.    By agreeing to not disclose the clawback agreement to its customers; and

                   v.     By agreeing not to inform the customers when the cash price was cheaper
                          than the insurance price.

          122.     CVS intentionally and knowingly misrepresented material facts regarding the

 prices of the Affected Drugs with an intent to mislead Plaintiff and the Subclass.

          123.     In purchasing Affected Drugs from CVS, Plaintiff and Subclass members were

 deceived by CVS’s failure to disclose that the cash price was cheaper than the insurance price;



                                                   - 38 -
 010698-11 975397 V1
Case 1:17-cv-00359-WES-PAS Document 1 Filed 08/07/17 Page 42 of 51 PageID #: 42



 that it remitted a clawback payment to the PBMs; that the “co-payment” was not in fact a co-

 payment, but a full payment covering the cost of the drug; that it had agreed not to disclose the

 clawback agreement to its customers; and by agreeing not to inform customers when the cash

 price was cheaper than the insurance price.

          124.     Plaintiff and Subclass members reasonably relied upon CVS’s false

 misrepresentations. They had no way of knowing that CVS’s representations were false and

 gravely misleading. As alleged herein, CVS engaged in sophisticated methods of deception.

 Plaintiff and Subclass members did not, and could not, unravel CVS’s deception on their own.

          125.     CVS knew or should have known that its conduct violated the UCL.

          126.     CVS owed Plaintiff and Subclass members a duty to disclose the truth about its

 scheme because CVS:

                   a.     Possessed exclusive knowledge that it was charging customers an inflated
                          price (the insurance price), and was remitting a clawback payment to the
                          PBMs;

                   b.     Intentionally concealed the foregoing from Plaintiff and the Subclass;

                   c.     Made incomplete representations that the price of the Affected Drugs was
                          a given amount with insurance, while purposefully withholding material
                          facts from Plaintiff and the Subclass that the cash price was actually
                          cheaper; and

                   d.     Made incomplete representations that it sought to make pharmaceutical
                          products as affordable as possible, when in fact it knowingly charged
                          inflated prices.

          127.     CVS had a duty to disclose that it was charging and collecting a price for

 customers who used insurance that exceeded the cash price, that customers were not paying a

 “co-pay,” but in fact paying for the whole price of the drug, and that it was paying a “clawback”

 to the PBMs.

          128.     CVS’s conduct proximately caused injuries to Plaintiff and Subclass members.




                                                  - 39 -
 010698-11 975397 V1
Case 1:17-cv-00359-WES-PAS Document 1 Filed 08/07/17 Page 43 of 51 PageID #: 43



          129.     Plaintiff and Subclass members were injured and suffered ascertainable loss,

 injury-in-fact, and/or actual damage as a proximate result of CVS’s conduct in that Plaintiff and

 Subclass members overpaid for the Affected Drugs, and refrained from filling a prescription

 based on the price of the Affected Drugs. These injuries are the direct and natural consequence

 of CVS’s misrepresentations and omissions.

          130.     CVS’s violations present a continuing risk to Plaintiff as well as to the general

 public. CVS’s unlawful acts and practices complained of herein affect the public interest.

          131.     CVS’s misrepresentations and omissions alleged herein caused Plaintiff and

 Subclass members to overpay for the Affected Drugs. Absent those misrepresentations and

 omissions, Plaintiff and Subclass members would have paid less for the Affected Drugs.

          132.     Accordingly, Plaintiff and Subclass members have suffered injury in fact,

 including lost money or property, as a result of CVS’s misrepresentations and omissions.

          133.     Plaintiff requests that this Court enter such orders or judgments as may be

 necessary to restore to Plaintiff and members of the Subclass any money it acquired, including

 restitution and/or restitutionary disgorgement, as provided in CAL. BUS. & PROF. CODE § 17203

 and CAL. CIV. CODE § 3345, and for such other relief as may be appropriate.

                                                COUNT II

                       VIOLATIONS OF THE CALIFORNIA CONSUMER
                                LEGAL REMEDIES ACT
                             (CAL. CIV. CODE § 1750 ET SEQ.)

          134.     Plaintiff incorporates by reference all paragraphs as though fully set forth herein.

          135.     This claim is brought on behalf of the California Subclass.

          136.     California’s Consumers Legal Remedies Act (CLRA), CAL. CIV. CODE § 1750 et

 seq., proscribes “unfair methods of competition and unfair or deceptive acts or practices




                                                   - 40 -
 010698-11 975397 V1
Case 1:17-cv-00359-WES-PAS Document 1 Filed 08/07/17 Page 44 of 51 PageID #: 44



 undertaken by any person in a transaction intended to result or which results in the sale or lease

 of goods or services to any consumer.”

          137.     The Affected Drugs are “goods” as defined in CAL. CIV. CODE § 1761(a).

          138.     Plaintiff and Subclass members are “consumers” as defined in CAL. CIV. CODE

 § 1761(d), and Plaintiff, Subclass members, and CVS are “persons” as defined in CAL. CIV.

 CODE § 1761(c).

          139.     CVS’s conduct, as described hereinabove, was and is in violation of the CLRA.

 CVS’s conduct violates, at a minimum, CAL. CIV. CODE § 1770(a)(13), because CVS “ma[de]

 false or misleading statements of fact concerning reasons for, existence of, or amount of, price

 reductions.”

          140.     CVS asked customers, including Plaintiff and Subclass members, for their

 insurance information in order to charge them the insurance price, despite the fact that the cash

 price was often cheaper than the insurance price for the Affected Drugs. Requesting payment for

 the Affected Drugs at the insurance price falsely stated or implied that there was no other price

 for the drugs other than the insurance price.

          141.     Plaintiff and Subclass members reasonably relied upon CVS’s false

 misrepresentations. They had no way of knowing that CVS’s representations were false and

 gravely misleading.

          142.     CVS knew or should have known that its conduct violated the CLRA.

          143.     CVS owed Plaintiff and the Subclass a duty to disclose the truth about the true

 price of the Affected Drugs because CVS:

                   a.     Possessed exclusive knowledge that it was charging customers an inflated
                          price (the insurance price) and was remitting a clawback payment to the
                          PBMs;

                   b.     Intentionally concealed the foregoing from Plaintiff and the Subclass;


                                                  - 41 -
 010698-11 975397 V1
Case 1:17-cv-00359-WES-PAS Document 1 Filed 08/07/17 Page 45 of 51 PageID #: 45



                   c.     Falsely represented that the payments for the Affected Drugs were a “co-
                          pay,” when in fact the payments covered the full price of the drugs;

                   d.     Made incomplete representations that the price of the Affected Drugs was
                          a given amount with insurance, while purposefully withholding material
                          facts from Plaintiff and the Subclass that the cash price was actually
                          cheaper; and

                   e.     Made incomplete representations that it sought to make pharmaceutical
                          products as affordable as possible, when in fact it knowingly charged
                          inflated prices.

          144.     CVS had a duty to disclose that it was charging and collecting a price for

 customers who used insurance that exceeded the cash price, that customers were not paying a

 “co-pay” but in fact were paying the full price of the drug, and that it was paying a “clawback” to

 the PBMs.

          145.     CVS’s conduct proximately caused injuries to Plaintiff and Subclass members.

          146.     Plaintiff and Subclass members were injured and suffered ascertainable loss,

 injury-in-fact, and/or actual damage as a proximate result of CVS’s conduct in that Plaintiff and

 Subclass members overpaid for the Affected Drugs and refrained from filling a prescription

 based on the price of the Affected Drugs. These injuries are the direct and natural consequence

 of CVS’s misrepresentations and omissions.

          147.     CVS’s violations present a continuing risk to Plaintiff as well as to the general

 public. CVS’s unlawful acts and practices complained of herein affect the public interest.

          148.     CVS’s misrepresentations and omissions alleged herein caused Plaintiff and

 Subclass members to overpay for their Affected Drugs. Absent those misrepresentations and

 omissions, Plaintiff and Subclass members would have paid less for the Affected Drugs.

          149.     Accordingly, Plaintiff and Subclass members have suffered injury in fact,

 including lost money or property, as a result of CVS’s misrepresentations and omissions.




                                                   - 42 -
 010698-11 975397 V1
Case 1:17-cv-00359-WES-PAS Document 1 Filed 08/07/17 Page 46 of 51 PageID #: 46



          150.     Plaintiff’s and Subclass members’ injuries were proximately caused by CVS’s

 unlawful and deceptive business practices.

          151.     While Plaintiff does not seek to recover damages under the CLRA in this initial

 Complaint, after mailing appropriate notice and demand in accordance with CAL. CIVIL CODE

 § 1782(a) & (d), Plaintiff will subsequently amend this Complaint to also include a request for

 compensatory and punitive damages.

                                               COUNT III

                                  FRAUDULENT CONCEALMENT
                                  (BASED ON CALIFORNIA LAW)

          152.     Plaintiff incorporates by reference all paragraphs as though fully set forth herein.

          153.     This claim is brought on behalf of the California Subclass.

          154.     CVS intentionally misrepresented that it was charging customers a “co-pay” when

 in fact customers were making full payments for the Affected Drugs and CVS was remitting a

 clawback payment to the PBMs. CVS also falsely represented that the price of the Affected

 Drugs was the insurance price, when in fact the cheaper price was the cash price. CVS agreed to

 keep the agreements with the PBMs confidential and secret so that the customers could never

 determine that they were paying an inflated price for the Affected Drugs and could have paid less

 if they paid the cash price, or CVS acted with reckless disregard for the truth and denied Plaintiff

 and Subclass members information that is highly relevant to their purchasing decision.

          155.     CVS further affirmatively misrepresented to Plaintiff and Subclass members in

 advertising and other forms of communication that CVS was committed to offering drug at the

 most affordable prices and cared about its customers and their ability to obtain required

 medications, when in fact CVS had entered into a fraudulent scheme to overcharge its customers.

          156.     Defendant knew these representations were false when made.



                                                   - 43 -
 010698-11 975397 V1
Case 1:17-cv-00359-WES-PAS Document 1 Filed 08/07/17 Page 47 of 51 PageID #: 47



          157.     Defendant had a duty to disclose that the cash prices for the Affected Drugs were

 often cheaper than payments made through insurance and that Plaintiff and Subclass members

 were not paying a “co-pay” but instead were paying a “full pay,” with CVS remitting an

 additional clawback payment to the PBMs, because Plaintiff and Subclass members relied on

 CVS’s material representations that the price they were quoted was the most affordable price

 available.

          158.     The truth about the pricing of the Affected Drugs was known only to CVS.

 Plaintiff and Subclass members did not know of these facts, and CVS actively concealed these

 facts from Plaintiff and Subclass members.

          159.     Plaintiff and Subclass members reasonably relied upon CVS’s deception. They

 had no way of knowing that CVS’s representations were false and/or misleading. As consumers,

 Plaintiff and Subclass members did not, and could not, unravel CVS’s deception on their own.

 Rather, CVS intended to deceive Plaintiff and Subclass members by concealing the true facts

 about the scheme to inflate prices of the Affected Drugs.

          160.     CVS also concealed and suppressed material facts concerning what is evidently

 the true culture of CVS—a culture characterized by an emphasis on profits and sales above its

 stated mission to provide customers with affordable medications and its obligation to fulfill its

 fiduciary duties. CVS also emphasized profits and sales above the trust that Plaintiff and

 Subclass members placed in their representations.

          161.     CVS’s false representations were material to customers because they naturally

 relied on them when deciding how to pay for their medications (or even whether to purchase

 them at all). If CVS had revealed that customers could simply pay the cash price and save

 money, they would have readily done so.




                                                 - 44 -
 010698-11 975397 V1
Case 1:17-cv-00359-WES-PAS Document 1 Filed 08/07/17 Page 48 of 51 PageID #: 48



          162.     CVS had a duty to disclose the scheme to inflate prices of the Affected Drugs

 because details of the true facts were known and/or accessible only to CVS, because CVS had

 exclusive knowledge as to such facts, and because CVS knew these facts were not known to or

 reasonably discoverable by Plaintiff or Subclass members. CVS also had a duty to disclose

 because it made general affirmative representations about its commitment to provide affordable

 medications to its customers, with an emphasis on its self-described “mission” to expand

 affordable health care, which were misleading, deceptive, and incomplete without the disclosure

 of the additional facts set forth above regarding the scheme to inflate generic drug prices. Having

 volunteered to provide information to Plaintiff and Subclass members about its mission

 generally, and the prices of Affected Drugs more specifically, CVS had the duty to disclose not

 just the partial truth, but the entire truth. These omitted and concealed facts were material

 because they directly impact the price Plaintiff and Subclass members had to pay for the

 Affected Drugs.

          163.     CVS actively concealed and/or suppressed these material facts, in whole or in

 part, to pad and protect their profits, to continue to be paid more in fees when the customer uses

 insurance to purchase her drugs, and to keep the scheme secret so as to not be expelled from the

 PBMs’ network. All of which they did at the expense of Plaintiff and Subclass members.

          164.     CVS still has not made full and adequate disclosures and continues to defraud

 Plaintiff and Subclass members by concealing material information regarding the prices of the

 Affected Drugs.

          165.     Plaintiff and Subclass members were unaware of the omitted material facts

 referenced herein, and they would not have acted as they did if they had known of the concealed

 and/or suppressed facts, in that they would have not used their insurance to purchase their




                                                 - 45 -
 010698-11 975397 V1
Case 1:17-cv-00359-WES-PAS Document 1 Filed 08/07/17 Page 49 of 51 PageID #: 49



 medications when the cash price was cheaper. They also may have not purchased their drugs

 from CVS at all when they found out that CVS had been hiding information from them, getting

 paid more for insurance payors as opposed to cash payments, and remitting a clawback payment

 to the PBMs, or would have taken other affirmative steps in light of the information concealed

 from them. Plaintiff’s and Subclass members’ actions were justified. CVS and its conspirators

 were in exclusive control of the material facts and such facts were not generally known to the

 public, Plaintiff, or Subclass members.

            166.   Accordingly, CVS is liable to Plaintiff and Subclass members for damages in an

 amount to be proven at trial.

            167.   CVS’s acts were done wantonly, maliciously, oppressively, deliberately with

 intent to defraud, and in reckless disregard of Plaintiff’s and Subclass members’ rights and the

 representations that CVS made to them, in order to enrich CVS. CVS’s conduct warrants an

 assessment of punitive damages in an amount sufficient to deter such conduct in the future,

 which amount is to be determined according to proof.

                                      REQUEST FOR RELIEF

            WHEREFORE, Plaintiff Megan Schultz, on behalf of herself and the Class, demands

 judgment against defendant CVS Health Corporation for the following relief:

       A.          An order certifying that this action is properly brought and may be maintained as

 a class action under Rule 23 of the Federal Rules of Civil Procedure, that Plaintiff be appointed

 as Class Representative, and that Plaintiff’s counsel be appointed Class Counsel;

       B.          An order temporarily and permanently enjoining CVS from continuing the

 unlawful, deceptive, fraudulent, and unfair practices alleged in this Complaint;




                                                  - 46 -
 010698-11 975397 V1
Case 1:17-cv-00359-WES-PAS Document 1 Filed 08/07/17 Page 50 of 51 PageID #: 50



       C.          Costs, restitution, damages, including punitive damages, and disgorgement in an

 amount to be determined at trial;

       D.          Treble damages and reasonable attorneys’ fees and costs;

       E.          Pre-judgment and post-judgment interest at the maximum possible rates, whether

 at law or in equity; and

       F.          Such other relief at law or equity as this court may deem just and proper.

                                     DEMAND FOR JURY TRIAL

            Plaintiff hereby demands a jury for all claims so triable.


 Dated: August 7, 2017                                 Respectfully Submitted,

                                                       By: /s/ Stephen M. Prignano

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                                                    - 47 -
 010698-11 975397 V1
Case 1:17-cv-00359-WES-PAS Document 1 Filed 08/07/17 Page 51 of 51 PageID #: 51




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                                     - 48 -
 010698-11 975397 V1
